                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In re: SARAI SERVICES GROUP, INC. 1    )
                                       )                         Case No.: 18-82948-CRJ-11
      EIN: xx-xxx2969                  )
                                       )
             Debtor.                   )                         CHAPTER 11
_______________________________________)

              AMENDED SECOND MOTION FOR APPROVAL OF INTERIM
    PROFESSIONAL FEES AND EXPENSES FOR CHAPTER 11 DEBTORS’ ATTORNEY

       COMES NOW the duly appointed and acting Debtors-in-Possession in the above styled
Chapter 11 case, and shows the Court as follows:

                                         General Background

       1.     On October 3, 2018, the Debtors commenced with this Court voluntary cases
under Chapter 11 of Title 11, United States Code (the "Bankruptcy Code").

       2.     The Debtors continue to be authorized to operate the business as Debtors-in-
Possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

       3.      On October 16, 2018, this Court approved the employment of Sparkman, Shepard
& Morris, P.C. as Debtors’ counsel. That day, this Court also entered an Order approving the
Debtors Motions to allow its attorneys to send monthly notices of attorney’s fees and expenses
incurred (the “Monthly Fee Notices”) to the Debtors’ 20 largest unsecured creditors, all parties
requesting notice, any committees appointed in this matter, the Bankruptcy Administrator (the
“Notice Parties”).

       4.      This Court’s order of November 8, 2018 also orders the Debtors counsel to file
with the Court, beginning on January 2, 2019, and serve upon the Notice Parties not more than
once every 90 days an interim application for allowance of compensation and reimbursement of
expenses, pursuant to 11 U.S.C. §331, of the amounts sought in the Monthly Fee Notices filed
during such period (the “Interim Fee Application”). The Interim Fee Application must include a
summary of the Monthly Fee Notices that are the subject of the request and any other
information requested by the Court or required by the Local Rules.




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        In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No.
18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18-
82951-CRJ-11.




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                                     Relief Requested

       5.     The said professional currently employed by the Debtors has previously served
Monthly Fee Notices for the months of December 2018, January 2019, and February 2019 with
balances due on each as shown below:

                                Sarai Services Group, Inc.

December 2018        Compensation: $5,413.00 (80% paid) / Expenses: $248.40 (100% paid)
                     Total: $5,661.40
                     Date of Notice: January 14, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $1,082.60

January 2019         Compensation: $9,726.00 (80% paid) / Expenses: $273.60 (100% paid)
                     Total: $9,999.60
                     Date of Notice: February 15, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $1,945.20

February 2019        Compensation: $6,478.50 (66.4% paid) / Expenses: $243.15 (100% paid)
                     Total: $6,721.65
                     Date of Notice: March 18, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $2,175.85

       Total unpaid amount owed to Debtor’s counsel after Court approval of this present
       application: $5,203.65

       Total amount of previously approved interim fees and expenses currently unpaid and
       owed to Debtor’s counsel: $0.00


                                    SSG WW JV LLC

December 2018        Compensation: $5,351.00 (80% paid) / Expenses: $50.40 (100% paid)
                     Total: $5,401.40
                     Date of Notice: January 14, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $1,070.20

January 2019         Compensation: $3,633.50 (80% paid) / Expenses: $0.00 (100% paid)
                     Total: $3,633.50
                     Date of Notice: February 15, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $726.70




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February 2019      Compensation: $4,030.00 (80% paid) / Expenses: $0.00 (100% paid)
                   Total: $4,030.00
                   Date of Notice: March 18, 2019
                   Amount of fees unpaid and to be satisfied by the Debtor after Court
                   approval of this present application: $806.00

      Total unpaid amount owed to Debtor’s counsel after Court approval of this present
      application: $2,602.90

      Total amount of previously approved interim fees and expenses currently unpaid and
      owed to Debtor’s counsel: $0.00


                            Sarai Investment Corporation

December 2018      Compensation: $220.00 (80% paid) / Expenses: $0.00 (100% paid)
                   Total: $220.00
                   Date of Notice: January 14, 2019
                   Amount of fees unpaid and to be satisfied by the Debtor after Court
                   approval of this present application: $44.00

January 2019       Compensation: $0.00 (100% paid) / Expenses: $0.00 (100% paid)
                   Total: $0.00
                   Date of Notice: February 15, 2019
                   Amount of fees unpaid and to be satisfied by the Debtor after Court
                   approval of this present application: $0.00

February 2019      Compensation: $0.00 (100% paid) / Expenses: $0.00 (100% paid)
                   Total: $0.00
                   Date of Notice: March 18, 2019
                   Amount of fees unpaid and to be satisfied by the Debtor after Court
                   approval of this present application: $0.00

      Total unpaid amount owed to Debtor’s counsel after Court approval of this present
      application: $44.00

      Total amount of previously approved interim fees and expenses currently unpaid and
      owed to Debtor’s counsel: $0.00




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                                      CM Holding, Inc.

December 2018        Compensation: $1,947.00 (80% paid) / Expenses: $0.00 (100% paid)
                     Total: $1,947.00
                     Date of Notice: January 14, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $389.40

January 2019         Compensation: $3,090.00 (80% paid) / Expenses: $0.00 (100% paid)
                     Total: $3,090.00
                     Date of Notice: February 15, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $618.00

February 2019        Compensation: $2,000.50 (80% paid) / Expenses: $0.00 (100% paid)
                     Total: $2,000.50
                     Date of Notice: March 18, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $400.10

       Total unpaid amount owed to Debtor’s counsel after Court approval of this present
       application: $1,407.50

       Total amount of previously approved interim fees and expenses currently unpaid and
       owed to Debtor’s counsel: $0.00

      6.      No agreement exists between the attorney and any other person or entity
whatsoever for the sharing of compensation or expenses in this case.

      7.     This application is brought under the provisions of Sections 327, 328, 330, 331 of
the United States Bankruptcy Code and Rule 2016 of the Federal Rules of Bankruptcy
Procedure.

        WHEREFORE, the Debtor requests that the Court: enter an Order approving such
compensation and expenses and authorizing the Debtor to pay the amounts listed above; and
grant other and further relief as the Court deems just and proper.




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       Respectfully submitted this the 1st day of May, 2019.


                                        /s/ Tazewell T. Shepard IV
                                        Tazewell T. Shepard III
                                        Tazewell T. Shepard IV
                                        Attorneys to Debtor-in-Possession

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                               CERTIFICATE OF SERVICE

       This is to certify that I have this 1st day of May, 2019 served the foregoing document
upon the Debtor’s 20 largest unsecured creditors, Richard Blythe, Office of the Bankruptcy
Administrator, P.O. Box 3045, Decatur, AL 35602 all persons requesting notice and the
following listed persons by electronic service through the Court’s CM/ECF system and/or by
depositing said copies in the United States Mail in properly addressed envelopes with adequate
postage thereon.


                                        /s/ Tazewell T. Shepard IV
                                        Tazewell T. Shepard IV




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